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 7                                                                 The Honorable Ronald B. Leighton

 8                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 9                                     AT TACOMA

10 JUDITH COX and CHARLES COX
     individually and as Personal                       NO. 14-05923RBL
11 Representatives of the Estates of C.J.P.
     and B.T.P.,                                        DECLARATION OF PETER J.
12                                                      HELMBERGER IN SUPPORT OF
                                                        DEFENDANTS' RESPONSE TO
13                              Plaintiffs,             PLAINTIFFS' MOTION FOR
                                                        RECONSIDERATION
14                              V.

15   STATE OF WASHINGTON,
     DEPARTMENT OF SOCIAL AND
16   HEALTH SERVICES, FOREST
     JACOBSON, ROCKY STEPHENSON,
17   JANE WILSON, and BILLIE REED-
     LYYSKI,
18

19                              Defendants.

20           PETER J. HELMBERGER hereby declares under penalty, of perjury under the laws of the

21   state of Washington that the following is true and correct:

22           1.     I am over the age of 18, competent to testify as to the matters stated herein and

23   make this declaration based on my personal knowledge. I am one of the Assistant Attorneys

24   General assigned to represent the State of Washington in this case.

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      DECLARATION OF PETER J.                                              OFFICE OF THE ATTORNEY GENERAL
                                                                               1250 Pacific Avenue, Suite 105
      HELMBERGER IN SUPPORT OF                                                        P.O. Box 2317
      DEFENDANT'S MOTION FOR                                                        Tacoma, WA 98401
      SUMMARY JUDGMENT                                                                (253) 593-5243
      Case No. 14-05923 RBL
 1
            2.      I am attaching complete copies of the transcripts from the hearings referenced in

 2 Defendants' Response to Plaintiffs' Motion for Reconsideration as they were inadvertently not
 3
   I filed in their entirely earlier.
 4
              3.      Attached as Exhibit A is a true and correct copy of the complete transcript from
 5
     the September 27, 2011 hearing from the third party custody case of Cox v. Powell, Pierce County
 6
     Superior Court Cause No. 11-3-03627-7. This document was produced to the plaintiffs on March

 7 3, 2014 with Defendants' Third Supplemental Answers to Plaintiffs First Interrogatories and
 8
    I Requests for Production.
 9
             4.      Attached as Exhibit B is a true and correct copy of the complete transcript from
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      the September 27, 2011 hearing from the dependency case of C.P. and B.P., Pierce County Cause
11
      Nos. 11-7-01802-8 and 11-7-01803-6. This document was produced to the plaintiffs on March 3,

12 2014 with Defendants' Third Supplemental Answers to Plaintiffs First Interrogatories and
13
   I Requests for Production.
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             5.     Attached as Exhibit C is a true and correct copy of the complete transcript from
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     the September 28, 2011 hearing from the dependency case of C.P. and B.P., Pierce County Cause
16
     Nos. 11-7-01802-8 and 11-7-01803-6. This document was produced to the plaintiffs on March 3,
17
   1 2014 with Defendants' Third Supplemental Answers to Plaintiff's First Interrogatories and
18
   I Requests for Production.
19
            6.      Attached as Exhibit D is a true and correct copy of the complete transcript from
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     the October 26, 2011 hearing from the dependency case of C.P. and B.P., Pierce County Cause
21
     Nos. 11-7-01802-8 and 11-7-01803-6. This document was produced to the plaintiffs on March 3,

22 2014 with Defendants' Third Supplemental Answers to Plaintiffs First Interrogatories and
23
     Requests for Production.
24
            7.      Attached as Exhibit E is a true and correct copy of excerpts of the deposition of
25
   I Gary L. Sanders, taken on September 18, 2014.
26

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                                                                             1250 Pacific Avenue, Suite 105
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      SUMMARY JUDGMENT                                                              (253) 593-5243
      Case No. 14-05923 RBL
 1
             8.    Attached as Exhibit F is a true and correct copy of excerpts of the deposition of
 2
     Teresa Berg, taken on September 18, 2014.
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             9.    Attached as Exhibit G are true and correct copies of the Affidavit for Order to Seal
 4
     the Search Warrant signed by Detective Gary Sanders, along with the Order to Seal, dated August
 5
     24, 2011; and a copy of the Order Unsealing Search Warrants and Affidavits dated March 30,
 6
     2012.
 7
             DATED this          day of November, 2015 in Tacoma, Washington.
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10                                               PETER,I]IELMBERGER, WSBA No. 23041
                                                 Assistant Attorney General
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      Case No. 14-05923 RBL
                                       CERTIFICATE OF SERVICE
 2
             Thereby certify that on this 9th day of November, 2015, I caused to be electronically filed

     the foregoing document with the Clerk of the. Court using the CMIECF system which will send

     notification of such filing to the following:
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 6   Elizabeth Donaldson
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16                                                   ROBERT W. FERGUSON
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                                                     //1'ete4'. T.
18                                                   PETER J. HELMBERGER, WSBA No. 23041
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21                                                   E-mail: PeterH(atg.wa.gov

22                                                   /Toeph' ?'4. DCc'.
                                                     JOSEPH M. DIAZ, WSBA No. 16170
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26                                                   Attorneys for Defendants


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